            Case 6:18-bk-06821-LVV          Doc 672     Filed 02/04/22     Page 1 of 8




                          UNITED STATES BANKRUPTCY COURT
                             MIDDLE DISTRICT OF FLORIDA
                                  ORLANDO DIVISION
                                  www.flmb.uscourts.gov


                                                              Chapter 7
In re:
                                                              Case No. 6:18-bk-06821-LVV
DON KARL JURAVIN,
                                                              Case No. 6:20-bk-01801-LVV
         Debtor.
                                                              Jointly Administered with
____________________________/                                 Case No. 6:18-bk-06821-LVV
DON KARL JURAVIN,
Case No. 6:18-bk-06821-LVV

MUST CURE OBESITY, CO.
Case No. 6:20-bk-01801-LVV

      Applicable Debtors.
____________________________/

                                  TRUSTEE’S NOTICE
     OF CONTINUED REMOTE RULE 2004 EXAMINATION OF ANNA JURAVIN
(via Zoom, production and remote testimony, rescheduled from 1/25/2022 at witness’s request)

         Dennis D. Kennedy, Chapter 7 Trustee (Trustee) for the Estate of Don Karl Juravin (Case

No. 6:18-bk-06821-LVV) and the Estate of Must Cure Obesity, Co. (Case No. 6:20-bk-01801-

LVV), by and through his undersigned counsel, pursuant to Fed. R. Bank. P. 2004, hereby gives

notice that he will conduct the continuation of his examination of ANNA JURAVIN upon oral

examination via ZOOM, on Tuesday, February 22, 2022, at 10:00 a.m. (login instructions to

be provided separately via email), before Esquire Deposition Solutions (court reporter), or some

other officer duly authorized by law to take examinations, continuing from day to day until

completion. The examination is being taken for the purpose of discovery and for use at any hearing

or trial or for such other purpose as are permitted under the applicable rules.
           Case 6:18-bk-06821-LVV       Doc 672     Filed 02/04/22   Page 2 of 8




       The Examinee remains under the Notice of and Subpoena for Rule 2004 Examination, Doc.
482 dated 04/16/2021, served 04/29/2021. See, Exhibit 1 attached.

Dated: February 4, 2022.            Respectfully submitted,

                                        /S/JAMES D. RYAN
                                           JAMES D. RYAN, ESQ.
                                           FLORIDA BAR NO. 0976751
                                           MOBILE: (561)889-1001
                                           JDR@RYANLAWGROUP.NET
                                           LAUREN@RYANLAWGROUP.NET
                                           RYAN LAW GROUP, PLLC
                                           636 U.S. HIGHWAY ONE, SUITE 110
                                           NORTH PALM BEACH, FL 33408
                                           MAIN: (561) 881-4447 FAX: (561) 881-4461
                                           SPECIAL COUNSEL TO DENNIS D. KENNEDY, TRUSTEE


                              CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on February 4, 2022, a true and correct copy of the foregoing
Notice of Continued Remote Rule 2004 Examination – Anna Juravin has been served by CM/ECF
and US mail as indicated:

CM/ECF:
  • United States Trustee, George C. Young Federal Bldg, 400 W. Washington Street, Suite
     1100, Orlando, FL 32801;
  • Dennis D. Kennedy, Trustee, P. O. Box 541848, Merritt Island, FL 32954
  • Bradley M. Saxton, Esq., Winderweedle, Haines, Ward & Woodman, P.A., 329 Park
     Avenue North, 2nd Floor, Winter Park, FL 32789;
  • Aldo G. Bartolone, Jr., Esq., Bartolone Law, PLLC, 1030 North Orange Avenue, Suite
     300, Orlando, FL 32801;
  • Shawn M. Yesner, Esq., Yesner Law, P.L. Countryside Colonial Center, 2753 SR 580,
     Suite 106, Clearwater, FL 33761-3345;
  • Henry Portner, Esq., 18851 NE 29th Ave Ste 700, Aventura, FL 33180-2845.

US Mail:
   • Don Karl Juravin, 15118 Pendio Drive, Montverde, FL 34756
   • Anna Juravin, 15118 Pendio Drive, Montverde, FL 34756

                                           /S/JAMES D. RYAN
                                              JAMES D. RYAN, ESQ.

                                                                                   Page 2 of 2
             Case 6:18-bk-06821-LVV                               Doc 672        Filed 02/04/22        Page 3 of 8




                                                                                                 Trustee's Exhibit 1
                           Case 6:18-bk-06821-KSJ                    Doc 482-1        Filed 04/16/21      Page 1 of 6
 62540 (Fonn 2540- Subpoena for Rule 2004 Examination) ( 12115)



                                     UNITED STATES BANKRUPTCY COURT
                                                          Middle District of Florida

 In re DON KARL JURA YIN                                                         Case No. 6: 18-bk-06821-KSJ
                     Debtor
                                                                                 Chapter _,_7_ _ _ __

                                  SUBPOENA FOR RULE 2004 EXAMINATION

 To: ANNA JURA YIN I 51 IS Pendio Drive Monteverde FL 34756
                                   (Name (~f person to whom the subpoena is directed)

 li] Testimony: YOU ARE COMMANDED to appear at the time, date, and place set forth below to testify at an
    examination under Rule 2004, Federal Rules of Bankruptcy Procedure. A copy of the cou11 order authorizing
    the examination is attached.

                 PLACE                                                           DATE AND TIME

                Remote (via video conference)                                    The examination will be at a subsequent
                                                                                 date to be mutually agreed but not later
                                                                                 than 20 days after the completion of the
                                                                                 document production referenced below


  The examination will be recorded by this method: court reporter (stenographic and/or video recording).

rKJ Production: You, or your representatives, must also bring with you to the examination the following
documents, electronically stored information, or objects, and must permit inspection, copying, testing, or
sampling of the material: A list of items to be produced is attached hereto as EXHIBIT A. These items
are to be produced for inspection and copying by the undersigned attorney, James D. Ryan, Esq., by
Thursday, Apri129, 2021.
      To the extent the items can be produced by mail or email, they should be sent to: Ryan Law Group,
PLLC, 636 US Highway One, Suite 110, North Palm Beach, FL 33408, jdr(iilryanlawgroup.net; the
designated place of production if physical inspection and copying are required is: Winderweedle, Haines
Ward and Woodman, PA, 329 N. Park Ave., 2nd floor, Winter Park, FL 32790, [407-246-6566], unless other
mutually agreed arrangements are made.
                                                                                              SEE A ITACHED EXHIBIT A

The fol!owing provisions of fed. R. Civ. P. 45, made applicable in bankruptcy cases by Fed. R. Bankr. P. 9016, are attached- Rule 45(c),
relating to the place of compliance; Rule 45(d), relating to your protection as a person subject to a subpoena; and Rule 45(e) and 45(g),
relating to your duty to respond to this subpoena and the potential consequences of not doing so.

  Date: Apri116, 2021 ___ _
                                CLERK OF COURT
                                                                            OR
                                                                                     Is/James D. Ryan
                                Signature of Clerk or Deputy                         Attorney's signature Clerk


  The name, address, email address, and telephone number of the attorney representing Dennis D. Kennedy, Trustee, who issues or
  requests this subpoena, are: James D. Ryan, Esq., Special Counsel to the Trustee, Ryan Law Group, PLLC, 636 US Highway One,
  Suite 110, North Palm Beach, FL 33408, jdr@rvanlawgroup.net (561) 881-4447

                                         Notice to the person who issues or requests this subpoena
If this subpoena commands the production of documents, electronically stored information, or tangible things, or the inspection of
premises before trial, a notice and a copy of this subpoena must be served on each party before it is served on the person to whom it is
directed. Fed. R. Civ. P. 45(a)(4).
        Case 6:18-bk-06821-LVV                            Doc 672        Filed 02/04/22      Page 4 of 8




                          Case 6:18-bk-06821-KSJ
82540 (Fonn 2540- Subpoe-na for Rule 2004 Examination) (Page 2
                                                                    Doc 482-1   Filed 04/16/21    Page 2 of 6


                                                                 PROOF OF SERVICE
                      (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

I received this subpoena for (name of individual and title, {f a n y ) : - - - - - - - - - - - - - - - - - - - - - -
on ( d a t e ) - - - - - - - - - -


0   I served the subpoena by delivering a copy to the named person as follows: - - - - - - - - - - - - - - - - -

                                                     on (date)        _______ ;or


0   I returned the subpoena unexecuted because:



Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also tendered to the
witness the fees for one day's attendance, and the mileage allowed by law, in the amount of$, _ _ _ _ _ _ _ _ _ __

 My fees are $. _ _ _ _ for travel and $_ _ _ _ for services, for a total of$ _ _ _ __


         I declare under penalty of perjury that this information is true and correct.

Date: _ _ __
                                                                                                             ·----------
                                                                                             Server's signature


                                                                                           Printed name and title




                                                                                             Server's address


Additional information concerning attempted service, etc.:
           Case 6:18-bk-06821-LVV                                Doc 672            Filed 02/04/22                  Page 5 of 8




                              Case 6:18-bk-06821-KSJ                         Doc 482-1         Filed 04/16/21             Page 3 of 6
 82540 (Fonn 2540- Subpoena for Rule 2004 Exammat10n) (Page 3


                              Federal Rule of Civil Procedure 45(c), (d), (e), and (g) (Effective 12/1113)
                         (made applicable in bankruptcy cases by Rule 9016, Federal Rules of Bankruptcy Procedure)

 (c) Place of compliance.                                                                       (ii) disclosing an unretained expen's opinion or infonnation that does
                                                                                          not describe specific occurrences in dispute and result~ from the expen's
  (I) For a Trial, Hewing. or Deposition. A subpoena may command a                        study that was not requested by a pany.
person to attend a trial, hearing, or deposition only as follows:                             (Cj Specifying Conditions as an Alternatin•. In the circumstances
    (A) within I 00 miles of where the person resides, is employed, or                    described in Rule 45(d)(3)(8), the coun may, instead of quashing or
regularly transacts business in person; or                                                modifying a subpoena, order appearance or production under specified
    (B) within the state where the person resides, is   ~mployed,   or regularly          conditions if the serving pany:
transacts business in person, if the person                                                      (i) shows a substantial need for the testimony or material that cannot
      (i) is a party or a party's ofiicer; or                                             be otherwise met without undue hardship; and
      (ii) is commanded to attend a trial and would not incur substantial                        (ii) ensures that the subpoenaed person will be reasonably
expense.                                                                                  compensated

  (2) For Other DiscMety A subpoena may command:                                          (e) Duties in Responding to a Subpoena.
    (A) production of documents, or electronically stored infOnnation, or
things at a place within ! 00 miles of where the person resides, is employed,              f I) Producing Docume/1/s or Elecrronically Stored hiformalion. These
or regularly transacts business in person; and                                           procedures apply to producing documents or electronically stored
    (B) inspection of premises, at the premises to be inspected.                         information:
                                                                                              (Aj Documents. A person responding to a subpoena to produce
(d) Protecting a Person Subject to a Subpoena; Enforcement.                              documents must produce them as they are kept in the ordinary course of
                                                                                         business or must organize and label them to correspond to the categories in
      {!) A1•oiding Undue Burdm or Erpense: SancTions. A pany or
                                                                                         the demand.
attorney responsible for issuing and serving a subpoena must take
                                                                                              (8) Form for Producing Electronica!l_v Stored biformanon Not
reasonable steps to avoid imposing undue burden or expense on a person
                                                                                         Specified. if a subpoena does not spccil)· a fonn for producing
subject to the subpoena. The coun for the district where compliance is
                                                                                         electronically stored infonnation, the person responding must produce it in
required must enforce this duty and impose an appropriate sanction--·
                                                                                         a form or fonns in which it is ordinarily maintained or in a reasonably
which may include lost earnings and reasonable attorney's fees~ on a
                                                                                         usable fonn or fonns
party or anomey who fails to comply.
                                                                                              (Cj Elecrronically Stored hiformation Produced in Only One Form The
                                                                                         person responding need not produce the same electronically stored
  (2) Command ro Produce Materials or Permit Inspection
                                                                                         infonnation in more than one IOnn.
    (A) Appearance Not Required. A person commanded to produce
                                                                                              (D) Inaccessible ElectronicalZv Szored Information The person
documents, electronically stored infonnation. or tangible things, or to
                                                                                         responding need not provide discovel)" of electronica!ly ston:d infOrmation
pennit the inspection of premises. need not appear in person at the place of
                                                                                         from sources that the person identi!it.'s as not reasonably accessible because
production or inspection unless also commanded to appear for a deposition.
                                                                                         of undue burden or cost. On motion to compel discovery or !Or a protective
hearing, or trial.
                                                                                         order, the person responding must show that the information is not
    {B) Objections. A person commanded to produce documents or tangible
                                                                                         reasonably accessible because of undue burden or cost. If that showing is
things or to pem1it inspection may serve on the pany or alfomey designated
                                                                                         made, the court may nonetheless order discovery from such sources if the
in the subpoena a written objection to inspecting, copying, testing or
                                                                                         requesting pany shows good cause. considering the !imitations of Ruk
sampling any or all of the materials or to inspecting the premises~ or to
                                                                                         26{b)(2)(C). The court may specify conditions for the discovery.
producing electronically stored infonnation in the !Orm or fonns requested.
The objection must be served before the earlier of the time specified for
                                                                                            {2j Claiming Privilege or Protection.
compliance or !4 days after the subpoena is served. If an objection is made,
                                                                                              (A) biformmion Withheld. A person withholding subpoenaed
the following rules apply:
                                                                                         infonnation under a claim that it is privileged or subject to protection as
      (i) At any time, on notice to the commanded person, the serving pany
                                                                                         trial-preparation material must·
may move the court tOr the district where compliance is required for an
                                                                                                (i) expressly make the claim; and
order compel!ing production or inspection.
                                                                                                (ii) describe the nature of the withheld documents, communications,
      (ii) These acts may be required only as directed in the order, and the
                                                                                         or tangible things in a manner that, without revealing infonnation itself
order must protect a person who is neither a pany nor a party's officer from
                                                                                         privileged or protected, will enable the panics to assess the claim.
significant expense resulting from compliance.
                                                                                              (B) biformation Produced. lfinfonnation produced in response to a
                                                                                         subpoena is subject to a claim of privilege or of protection as trial-
  (3) Quashing or }.1odifying a Subpoena.
                                                                                         preparation material, the person making the claim may notify any party that
    (A} When Required. On timely motion, the coun fOr the district where
                                                                                         received the information of the claim and the basis for it. After being
compliance is required must quash or modify a subpoena that:
                                                                                         notified, a pany must promptly retum, sequester, or destroy the specified
      (i) fails to al!ow a reasonable time to comply;
                                                                                         infonnation and any copies it has; must not use or disclose the infom1ation
      (ii) requires a person to comply beyond the geographical limits
                                                                                         until the claim is resolved; must take reasonable steps to retrieve the
specified in Rule 45(c);
                                                                                         infonnation if the pany disclosed it before being notified; and may
      (iii) requires disclosure of privileged or other protected matter, if no
                                                                                         promptly present the infonnation under seal to the coun for the district
exception or waiver applies; or
                                                                                         where compliance is required fOr a detennination of the claim. The person
      (iv) subjects a person to undue burden.
                                                                                         who produced the information must preserve the infonnation until the claim
    (B) When Permitted. To protect a person subject ~o or affected by a
                                                                                         is resolved.
subpoena, the coun for the district where compliance is required may, on
motion, quash or modifY the subpoena if it requires·
                                                                                         (g) Contempt. The court for the district where compliance is required- and
      ( i) disclosing a trade secret or other confidential research,
                                                                                         also, after a motion is transferred, the .issuing coun- may hold in contempt
development, or commercial infonnation; or
                                                                                         a person who, having been served, fails without adequate excuse to obey
                                                                                         the subpoena or an order related to it.


                                          For access to subpoena materials, see Fed. R. Ctv. P. 45(a) Conu11ittee Note (201 3)
Case 6:18-bk-06821-LVV               Doc 672        Filed 02/04/22      Page 6 of 8




            Case 6:18-bk-06821-KSJ           Doc 482-1      Filed 04/16/21   Page 4 of 6




                                             EXHIBIT A

                                             DEFINITIONS

 Arora Entity means any privately owned corporation, company, partnership, trust or business in
 which you and Karan Arora have worked, have been an officer or director or have held any
 direct or indirect legal or equitable ownership interest in from 2014 to date.

 Juravin Entity means any privately owned corporation, company, partnership, trust or business
 which, to your knowledge, Don Karl Juravin (Juravin) is or was an officer or director or in which
 Juravin held any direct or indirect legal or equitable ownership interest in or which directly or
 indirectly employed Juravin.

 You and Your mean Anna Juravin.

 Juravin means Don Karl Juravin and/or any Juravin Entity.

 Karan Arora means Karan Arora and/or any Arora Entity.

 Communication means any transmission or transfer of information of any kind, orally, in
 writing, or in any other manner at any time or place, under any circumstances whatsoever,
 including electronically stored information.

 Or shall include the disjunctive (or) and conjunctive (and) so as to create the more inclusive
 meanmg.

 Relating. Showing, Pertaining or Reflecting shall be construed in the broadest sense of each
 word, and shall be deemed to encompass any document or thing directly or indirectly describing,
 constituting, discussing, mentioning, commenting on, supporting, contradicting, or referring to
 the subject or topic in question, either in whole or in part.

         DOCUMENTS AND ELECTRONICALLY STORED INFORMATION TO BE PRODUCED

 I.     Your birth certificate.
 2.     Your driver's license.
 3.     For any country of which you consider yourself a citizen, each docmnent reflecting that
        citizenship.
 4.     Records showing your status as a resident alien for any country.
 5.     Your passport(s) or any equivalent document(s) allowing you to exit or enter the United
        States and its territories.
 6.     All confidentiality agreements to which you claim to be a party or by which you claim to
        be bound.
 7.     All employment agreements to which you claim to be a party.
Case 6:18-bk-06821-LVV            Doc 672        Filed 02/04/22         Page 7 of 8




          Case 6:18-bk-06821-KSJ          Doc 482-1      Filed 04/16/21     Page 5 of 6




 8.    Records of your arrest, criminal prosecution(s) and criminal conviction(s) for all
       misdemeanors and felonies.
 9.    A list of all civil actions in which you are currently a party or have been a party; for each
       action, include the case number, names of the parties, and the court having jurisdiction
       over the action.
 10.   A list of all civil actions in which you have been a party; for each action, include the case
       number, names of the parties, and the court having jurisdiction over the action.
 11.   Proof of each college or tmiversity degree conferred upon you.
 12.   From January I, 2017 to date, a copy of each communication between Karan Arora and
       you.
 13.   From January I, 2017 to date, a copy of each communication between Hal Herskowitz
       and you.
 14.   From January l, 2017 to date, a copy of each communication between Hershkowitz and
       Kunitzer, P.A. staffipersonnel and you.
 15.   From January I, 2017 to date, a copy of each communication between Shay Zuckerman
       and you excluding communications pertaining to the work of Shay Zuckerman as your
       attorney.
 16.   From January I, 2017 to date, a copy of each communication between Noam Ben Zvi or
       the Ben-Zvi Law Firm and you, excluding communications pertaining to the work of
       Noam Ben Zvi or the Ben-Z vi Law Firm as your attorney.
 17.   From January l, 2017 to date, a copy of each communication with any person or entity
       regarding money delivered by Natural Vitamins Laboratory Corporation [NYLC) to you,
       and vice versa.
 18.   From January I, 2017 to date, a copy of each commtmication with any person or entity
       regarding money delivered by Natural Vitamins Laboratory Corporation [NVLCJ to
       United Medical Group International, Inc. [UMGI].
 19.   From January I, 2017 to date, a copy of each communication with any person or entity
       regarding money delivered by UMGI to NVLC.
 20.   From January I, 2017 to date, a copy of Juravin Incorporated books and records,
       including but not limited to:
              Corporate organizing and operating documents (e.g., Articles of Incorporation,
              Operating Agreement, Bylaws, Minutes, Resolutions); those indicating ownership
              or control of intellectual property; those indicating ownership or control of
              internet mail accounts, cloud accounts, all Google accounts, social media
              accounts; banking and fmancial records including checkbooks, registers, deposit
              and withdrawal records, bank statements, and payroll records.
21.    From January I, 2017 to date, a copy of UMGI books and records, including but not
       limited to:
             Corporate organizing and operating documents (e.g., Articles of Incorporation,
             Operating Agreement, Bylaws, Minutes, Resolutions); those indicating ownership
Case 6:18-bk-06821-LVV            Doc 672        Filed 02/04/22        Page 8 of 8




          Case 6:18-bk-06821-KSJ         Doc 482-1      Filed 04/16/21     Page 6 of 6




              or control of intellectual property; those indicating ownership or control of
              internet mail accounts, cloud accounts, all Google accounts, social media
              accounts; banking and financial records including checkbooks, registers, deposit
              and withdrawal records, bank statements, and payroll records.

 22.   From January I, 2017 to date, a copy of Globesity Foundation books and records,
       including but not limited to:
              Corporate organizing and operating documents (e.g., Articles of Incorporation,
              Operating Agreement, Bylaws, Minutes, Resolutions, local/state/federal
              applications for tax exempt status); those indicating ownership or control of
              intellectual property; those indicating ownership or control of internet mail
              accounts, cloud accounts, all Google accounts, social media accounts; banking
              and financial records including checkbooks, registers, deposit and withdrawal
              records, bank statements, and payroll records.

 23.   From January I, 2017 to date, a copy of all records related to transfers of internet, social
       media, and web accounts from Don Juravin or any Juravin related entities to you and any
       entities with which you are affiliated.
